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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

XAVIER U. RIGSBY,
       Plaintiff,
v.                                               Case No. 4:20-cv-452-AW-MAF
TAYLOR CORRECTIONAL
INSTITUTION, et al.,
     Defendants.
_______________________________/
         ORDER ADOPTING REPORT AND RECOMMENDATION

       I have considered the magistrate judge’s Report and Recommendation (ECF

No. 11), to which no objections have been filed. I agree with the magistrate judge’s

conclusions, and the Report and Recommendation is adopted and incorporated into

this order. The clerk will enter a judgment that says “This case is dismissed for

failure to comply with a court order and failure to prosecute.” The clerk will then

close the file.

       SO ORDERED on January 14, 2021.

                                      s/ Allen Winsor
                                      United States District Judge
